






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-02-00421-CR







Jose Refugio Nieto, Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF RUNNELS COUNTY, 119TH JUDICIAL DISTRICT


NO. 5003, HONORABLE BEN WOODWARD, JUDGE PRESIDING







The clerk's fee has not been paid and the clerk's record has not been filed.  Appellant
was advised that his appeal would be dismissed if the clerk's fee was not paid.  The Court received
no response to this notice.  The appeal is dismissed for want of prosecution.  See Tex. R. App. P.
37.3(b).



				                                                                                   

				David Puryear, Justice

Before Chief Justice Aboussie, Justices Patterson and Puryear

Dismissed for Want of Prosecution

Filed:   October 3, 2002

Do Not Publish


